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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF GEORGIA
                             ATHENS DIVISION

UNITED STATES OF AMERICA                 :
                                         :
      v.                                 :
                                         :       No. 3:18-CR-49-CAR-CHW
KYLE LAMAR MYERS,                        :
                                         :
      Defendant.                         :
                                         :

                          ORDER TO CONTINUE TRIAL

      On September 11, 2018, the Grand Jury returned a four-count indictment charging

Defendant with possession of a firearm by a drug user, possession of a firearm with an

obliterated serial number, maintaining a drug premises, and possession with intent to

distribute. On September 19, 2018, Defendant pled not guilty at his arraignment and was

released on an unsecured bond.

      This case is currently scheduled for trial on February 11, 2019. At the pretrial

hearing on January 10, 2019, however, Defendant and the Government jointly requested

this case be continued so they may engage in further plea negotiations. Having

considered the matter, the Court finds it serves the ends of justice to grant Defendant

adequate time to address these matters, and the ends of justice served by granting a

continuance outweigh the interests of Defendant and the public in a speedy trial. Failure

to grant a continuance would deny counsel reasonable time for effective preparation and

could result in a miscarriage of justice. Thus, IT IS HEREBY ORDERED that this case be
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continued until April 15, 2019, the next term of Court for the Athens Division. The delay

occasioned by this continuance shall be deemed excludable pursuant to the provisions of

the Speedy Trial Act, 18 U.S.C. § 3161.

      SO ORDERED, this 18th day of January, 2019.

                                          S/ C. Ashley Royal
                                          C. ASHLEY ROYAL, SENIOR JUDGE
                                          UNITED STATES DISTRICT COURT




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